Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 1 of 405 Page ID #187




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

         Plaintiff,
                                                                   No. 22-cv-651
 v.


 GENERAL MEDICINE, P.C.,
 GENERAL MEDICINE OF ILLINOIS PHYSICIANS, P.C.,
 GENERAL MEDICINE OF NORTH CAROLINA, P.C.,
 ADVANCED MEDICAL HAGGERTY PARTNERS, P.A.,
 BOROUGH MEDICAL PARTNERS, P.A.,
 CENTRO MEDICAL PARTNERS, P.A.,
 CITY MEDICAL PARTNERS, P.A.,
 INTEGRATED MEDICAL PARTNERS, P.A.,
 METRO MEDICAL HAGGERTY PARTNERS, P.A.,
 METROPOLIS MEDICAL PARTNERS, P.A.,
 NATIONAL MEDICAL PARTNERS, P.A.,
 NEW CASTLE HAGGERTY MEDICAL PARTNERS, P.A.,
 REGIONAL MEDICAL PARTNERS, P.A.,
 SIGMA HAGGERTY MEDICAL, P.A.,
 SILVERTON MEDICAL PARTNERS, P.A.,
 STATEWIDE MEDICAL PARTNERS, P.A.,
 VICINITY MEDICAL PARTNERS, P.A.,
 WESTCO HAGGERTY MEDICAL PARTNERS, P.A., and
 THOMAS M. PROSE,

         Defendants.


          MOTION TO DISMISS (1) PLAINTIFF’S COMPLAINT WITH
   RESPECT TO CLAIMS THAT DEFENDANTS ENGAGED IN UPCODING AND (2)
          ALL CLAIMS WITH RESPECT TO VARIOUS DEFENDANTS

                                    ORAL ARGUMENT REQUESTED

        Defendants, through their attorneys, respectfully move this Court to dismiss the complaint

with respect to the claims that Defendants engaged in so-called “upcoding” of medical bills

submitted to Medicare. Defendants also move to dismiss all claims against Defendants General

Medicine of Illinois Physicians, P.C., Advanced Medical Haggerty Partners, P.A., Borough



31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 2 of 405 Page ID #188




Medical Partners, P.A., Centro Medical Partners, P.A., Integrated Medial Partners, P.A., Metro

Medical Haggerty Partners, P.A., New Castle Haggerty Medical Partners, P.A., Regional Medical

Partners, P.A., Silverton Medical Partners, P.A., Statewide Medical Partners, P.A., Vicinity

Medical Partners, P.A., and Westco Haggerty Medical Partners, P.A. In support of the motion,

Defendants rely on the facts and arguments set forth in the accompanying brief.

        WHEREFORE, Defendants respectfully request that this Court dismiss the Complaint for

the reasons set in the accompanying brief.

                                             Respectfully submitted,

                                             SANDBERG PHOENIX & von GONTARD P.C.


                                             By:/s/ a. Courtney Cox
                                                     A. Courtney Cox
                                                     Attorneys for Defendants
                                                     1405 West Main Street
                                                     Carbondale, IL 62901
                                                     618-351-7200
                                                     ccox@sandbergphoenix.com


                                             CLARK HILL PLC


                                             By:/s/ David F. Hansma
                                                    David F. Hansma pro hac vice
                                                    Attorneys for Defendants
                                                    151 S. Old Woodward Ave, Suite 200
                                                    Birmingham, MI 48009
                                                    (248) 988-5877
Dated: July 7, 2022                                 dhansma@clarkhill.com




                                                2
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 3 of 405 Page ID #189




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

         Plaintiff,
                                                          No. 22-cv-651
 v.


 GENERAL MEDICINE, P.C.,
 GENERAL MEDICINE OF ILLINOIS PHYSICIANS, P.C.,
 GENERAL MEDICINE OF NORTH CAROLINA, P.C.,
 ADVANCED MEDICAL HAGGERTY PARTNERS, P.A.,
 BOROUGH MEDICAL PARTNERS, P.A.,
 CENTRO MEDICAL PARTNERS, P.A.,
 CITY MEDICAL PARTNERS, P.A.,
 INTEGRATED MEDICAL PARTNERS, P.A.,
 METRO MEDICAL HAGGERTY PARTNERS, P.A.,
 METROPOLIS MEDICAL PARTNERS, P.A.,
 NATIONAL MEDICAL PARTNERS, P.A.,
 NEW CASTLE HAGGERTY MEDICAL PARTNERS, P.A.,
 REGIONAL MEDICAL PARTNERS, P.A.,
 SIGMA HAGGERTY MEDICAL, P.A.,
 SILVERTON MEDICAL PARTNERS, P.A.,
 STATEWIDE MEDICAL PARTNERS, P.A.,
 VICINITY MEDICAL PARTNERS, P.A.,
 WESTCO HAGGERTY MEDICAL PARTNERS, P.A., and
 THOMAS M. PROSE,

         Defendants.


                         BRIEF IN SUPPORT OF MOTION TO DISMISS

                                    ORAL ARGUMENT REQUESTED




31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 4 of 405 Page ID #190




                                       INTRODUCTION

        This case arises from the government’s claim that Defendants (“General Medicine”)

violated, among other things, the False Claims Act through the submission of false Medicare

billings. The complaint alleges that General Medicine’s billings were false because “the associated

patient visits were either not performed, not medically necessary, or insufficient to meet the

requirements of the billing code for which reimbursement was received,” i.e. were “upcoded.”

[Dkt. # 1, ¶ 2]. The complaint focuses on procedures it refers to as Care Plan Reviews (“CPRs”)

and Monthly Medication Reviews (“MMRs”) and alleges that General Medicine upcoded the

claims for these procedures to the highest CPT billing code available, 99310. Pursuant to Fed. R.

Civ. P. 12(b)(6), General Medicine now moves to dismiss the claims in the complaint alleging

fraud based on upcoding

        The government’s claim that General Medicine engaged in upcoding should be dismissed

because the claim is not pled with particularity. The complaint makes sweeping, conclusory

allegations that General Medicine “systematically” upcoded claims submitted to Medicare and had

a company policy to always bill CPRs and MMRs at the 99310 level. The complaint also alleges

that General Medicine billed at this level “even though GM knew that the purported services being

provided did not meet the codes’ requirements and should have been billed, if at all, using a lower

code for a less complex visit.” [Dkt. # 1, ¶ 256]. But the complaint does not set forth particular

facts to substantiate the claim that these visits were upcoded, or that General Medicine knew they

were upcoded. The complaint does not analyze the claims at a transaction level to show how they

fail to meet the coding requirements for 99310, or to show that General Medicine knew the coding

requirements were not met. Nor does the complaint allege particular facts to support its allegation

that General Medicine had a policy instructing clinicians to bill at the 99310 level.



                                                 1
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 5 of 405 Page ID #191




        Instead, the complaint relies on allegations of prior instances in which General Medicine’s

claims were downcoded by Medicare contractors or adjudicators in order to substantiate its claim

of fraud. But the complaint does not plead particular facts showing that those prior downcodes

resulted from fraud instead of, for example, a lack of proper documentation or simply good faith

disagreement between General Medicine’s clinicians and the contractors regarding the subjective

interpretation of the CPT code requirements.

        In short, the government hopes to jump from sweeping allegations of a policy of upcoding

to allegations of prior instances of downcodes to the conclusion of fraud without providing

particular facts that would connect these dots. This effort fails to state a claim upon which relief

can be granted. This is especially true because, as explained below, the complaint:

       Undercuts its own claim by alleging that the clinicians themselves selected the level of
        code to bill;

       Never alleges that General Medicine or its billers changed the codes selected by the
        clinicians;

       Never alleges any incentive for clinicians to upcode;

       Never provides any facts showing clinicians were pressured to bill at 99310;

       Never analyzes the CPT code requirements to show how any particular claim fails to meet
        those requirements; and

       Never pleads facts showing that General Medicine knew, at the time claims were
        submitted, that any claims billed at 99310 did not meet the requirements.

        Defendants request that this Court dismiss the government’s claims relating to upcoding.

        Defendants also request that this Court dismiss the claims against Defendants General

Medicine of Illinois Physicians, P.C., Advanced Medical Haggerty Partners, P.A., Borough

Medical Partners, P.A., Centro Medical Partners, P.A., Integrated Medial Partners, P.A., Metro

Medical Haggerty Partners, P.A., New Castle Haggerty Medical Partners, P.A., Regional Medical


                                                 2
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 6 of 405 Page ID #192




Partners, P.A., Silverton Medical Partners, P.A., Statewide Medical Partners, P.A., Vicinity

Medical Partners, P.A., and Westco Haggerty Medical Partners, P.A. because the Complaint

improperly uses “group pleading” with respect to these defendants and fails to identify specific

fraudulent conduct engaged in by these Defendants.

                                    FACTUAL BACKGROUND

        A.       Background on General Medicine and the Medicare Claims at Issue

        General Medicine is in the business of providing post-hospitalist physicians and geriatric

nurse practitioners to nursing homes and skilled nursing facilities. [Dkt. # 1, ¶¶ 58-59]. As part

of that business, General Medicine submits claims to Medicare for the medical services provided

by its clinicians. The complaint alleges that General Medicine “invented several so-called

‘regulatory’ visits and required [its] clinicians to perform them at regular intervals[.]” [Dkt. # 1,

¶ 123]. The complaint claims that these “regulatory” visits, along with other visits, resulted in

General Medicine “excessively billing Medicare for medically unnecessary, duplicative, and

unreasonable patient visits each month.” [Dkt. # 1, ¶ 126].

        The main “regulatory” visits at issue are referred to in the complaint as Care Plan Reviews

(“CPRs”) and Monthly Medication Reviews (“MMRs”). [Dkt. # 1, ¶ 131]. The complaint takes

a shotgun approach in its attacks on the performance of these regulatory visits, alleging that they

were either not medically necessary, were performed more often than was medical necessary, or

were upcoded (which essentially means that the patient encounter was billed at a higher coding

level than appropriate). According to the complaint, General Medicine “routinely billed Medicare

for MMRs and CPRs using the highest billing codes available, CPT 99310 and 99337, even though

GM knew that the purported services being provided did not meet the codes’ requirements and

should have been billed, if at all, using a lower code for a less complex visit.” [Dkt. # 1, ¶ 256].



                                                  3
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 7 of 405 Page ID #193




        The complaint sets forth twenty alleged “Examples of False Claims,” in which it repeatedly

states, “This [] visit was also upcoded, as GM knew or should have known whatever services may

have been rendered did not meet the requirements for CPT 99310.” [Dkt. # 1, ¶¶ 406, 417, 444,

453, 472, 490, 507, 525, 536, 545, 553, 562, 571, 579, 587].

        B.       The CPT Code Requirements

        According to the complaint, the various CPT code billing requirements are as follows:

       CPT 99307 requires: “a face-to-face visit with the patient containing at least two of the
        following three components: (a) problem-focused interval history; (b) a problem-focused
        examination of the patient; and (c) straightforward medical decision making.” [Dkt. # 1, ¶
        106].

       CPT 99308 requires “a face-to-face visit with the patient containing at least two of the
        following three components: (a) an expanded, problem-focused interval history; (b) an
        expanded, problem-focused examination of the patient; and (c) medical decision-making
        of low complexity.” [Dkt. # 1, ¶ 107].

       CPT 99309 requires “a face-to-face visit with the patient containing at least two of the
        following three components: (a) a detailed interval history; (b) a detailed examination of
        the patient; and (c) medical decision-making of moderate complexity.” [Dkt. # 1, ¶ 108].

       CPT 99310 requires “a face-to-face visit with the patient containing at least two of the
        following three components: (a) a comprehensive interval history, including an extended
        history of present illness, a complete past, family, and social history, and a complete review
        of at least ten body systems directly related to the identified problems; (b) a comprehensive
        physical examination of the patient; and (c) medical decision-making of high complexity.”
        [Dkt. # 1, ¶ 109].


        While the complaint alleges that patients subject to these face-to-face visits “usually”

exhibit certain conditions depending on the code (e.g., “stable,” “significant complication,”

“unstable,” etc.), there is no allegation in the complaint that the CPT codes require these

conditions. Instead, the only requirements alleged in the complaint for billing at the specific CPT

codes are a history, physical examination, and medical decision-making of specific complexity

(only two out of the three of which are required). [Dkt. # 1, ¶¶ 106-09].



                                                  4
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 8 of 405 Page ID #194




        Similarly, while the complaint alleges various “approximate” amounts of time that each

type of visit is “estimated to take,” there is no allegation in the complaint that the examination

must take a certain amount of time, nor that CMS reviews time when considering whether to pay

a claim or audits time to determine whether coding was correct. [Dkt. # 1, ¶¶ 106-09]. Moreover,

the complaint does not allege that the amount of time spent is material or that the government

considers the amount of time spent as a factor determining whether to approve and pay for the

patient encounter under these codes.

                                       LEGAL STANDARDS

        A.       Rule 8(a) Requires that the Government State a Plausible Claim for Relief

        Rule 12(b)(6) provides for dismissal if a plaintiff fails to state a claim upon which relief

can be granted. A motion to dismiss for failure to state a claim is analyzed under the “plausibility”

standard. See Ashcroft v. Iqbal, 556 U.S. 662 (2009). In order to avoid dismissal, the complaint

must plead “enough facts to state a claim to relief that is plausible on its face.” of Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Iqbal, supra at 678. “In application, a complaint must contain either

direct or inferential allegations respecting all the material elements to sustain a recovery under

some viable legal theory.” Percival v. Girard, 692 F. Supp. 2d 712, 718 (E.D. Mich. 2010)

(cleaned up).

        “Where a complaint pleads facts that are merely consistent with a defendant’s liability, it

stops short of the line between possibility and plausibility of entitlement to relief.” Iqbal, supra at

678 (cleaned up). The allegations of the complaint “must establish a nonnegligible probability

that the claim is valid.” In re Text Messaging Antitrust Litig., 630 F.3d 622, 629 (7th Cir. 2010).



                                                  5
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 9 of 405 Page ID #195




        In deciding the motion, this Court must “accept all well-pleaded factual allegations of the

complaint as true and construe the complaint in the light most favorable to the plaintiff.” Reilly v.

Vadlamudi, 680 F.3d 617, 622-23 (6th Cir. 2012). But a complaint must contain more than “labels

and conclusions” or a “formulaic recitation of the elements of a cause of action.” Id. (citation

omitted). Conclusory allegations are not assumed to be true. United States ex rel. Gravett, supra.

        Generic allegations against all “defendants” are insufficient. See, e.g., In re Travel Agent

Comm’n Antitrust Litig., 583 F.3d 896, 905 (6th Cir. 2009). A complaint must allege sufficient

“specifics as to the role each [defendant] played in the alleged conspiracy.” Total Benefits

Planning Agency, Inc. v. Anthem Blue Cross & Blue Shield, 552 F.3d 430, 436 (6th Cir. 2008).

        B.       Rule 9 Requires Pleading Fraud with Particularity to Protect Defendants from
                 Unsubstantiated Claims of Fraud

        In addition to the Rule 8 requirements of plausibility, the complaint must also satisfy the

heightened pleading requirements for pleading fraud. The heightened pleading standards exist

because public charges of fraud can do great harm to the reputation of a business or individual.

Ackerman v. Nw. Mut. Life Ins. Co., 172 F.3d 467, 469 (7th Cir. 1999).

        Rule 9(b) requires a plaintiff to “state with particularity the circumstances constituting

fraud or mistake.” This means the plaintiff “must state the identity of the person who made the

misrepresentation, the time, place and content of the misrepresentation, and the method by which

the misrepresentation as communicated to the plaintiff[.]” United States v. Sanford-Brown, Ltd.,

788 F.3d 696, 705 (7th Cir. 2015). Further, the government must plead its claims “at the individual

transaction level.” United States ex rel. Fowler v. Caremark RX, LLC, 496 F.3d 730, 742 (7th Cir.

2007). “To survive a motion to dismiss, [plaintiffs] must at a minimum plead transaction-level

details evidencing violations of” the False Claims Act. United States ex rel. Sibley v. University

of Chicago Medical Center, 2021 WL 3290964 at *6 (N.D. Ill. Aug. 2, 2021). (Exhibit 1).


                                                 6
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 10 of 405 Page ID #196




        C.       Requirements of a False Claims Act Claim

        The complaint alleges liability under four subsections of the False Claims Act, 31 U.S.C.

§ 3729(a)(1)(A), (B), (C), and (G). The Act makes it unlawful knowingly (1) to present or cause

to be presented a false or fraudulent claim for payment to the United States, (2) to make or use a

false record or statement material to a false or fraudulent claim, or (3) to use a false record or

statement to conceal or decrease an obligation to pay money to the United States. United States ex

rel. Yannacopoulos v. Gen. Dynamics, 652 F.3d 818, 822 (7th Cir. 2011). A successful claim

requires proof both that the defendant made a statement to receive money from the government

and that he made that statement knowing it was false. Id.

                                           ARGUMENT

I.      PLAINTIFF’S CLAIMS RELATING TO UP-CODING SHOULD BE DISMISSED

        A.       The Complaint Fails to Allege a Policy of Upcoding

        The complaint starts its upcoding allegations by claiming that General Medicine instructed

clinicians that CPRs and MMRs should always be billed at 99310. This claim is not supported by

particular facts and is contradicted by other allegations of the complaint.

                 1.       The Complaint Fails to Plead Particular Facts Showing Clinicians were
                          Instructed to Bill CPRs and MMRs at the 99310 Level

        The complaint claims, “Through its company policies and guidance, GM instructed its

clinicians that CPRs and MMRs were ‘Level 3’ visits and should always be billed at CPT 99310

or 99337, depending on the facility setting.” [Dkt. # 1, ¶ 259]. This allegation—unadorned with

any factual content beyond a bald assertion—fails to plead fraud with particularity. See A.G. ex

rel. Maddox v. v. Elsevier, Inc., 732 F.3d 77, 81 (1st Cir. 2013) (“When allegations, though

disguised as factual, are so threadbare that they omit any meaningful factual content, we will treat

them as what they are: naked conclusions.”). Among other things, the allegation does not allege


                                                 7
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 11 of 405 Page ID #197




which company policies or guidance contain this instruction, who issued or authored the policies

and guidance, when they were authored, how they were communicated to clinicians, or even the

specific wording of the alleged instruction. Without this type of detail, the complaint fails to allege

the circumstances constituting fraud with particularity. See Sanford-Brown, Ltd., 788 F.3d at 705

(holding that the complaint “must state the identity of the person who made the misrepresentation,

the time, place and content of the misrepresentation, and the method by which the

misrepresentation as communicated to the plaintiff[.]”). The complaint must use some “means of

injecting precision and some measure of substantiation into [its] allegations of fraud.” United

States ex rel. Schagrin v. LDR Industries, LLC, 2018 WL 6064699 at *2 (N.D. Ill. Nov. 20, 2018).

(Exhibit 2). Here, the allegation of an instruction to clinicians to bill CPRs and MMRs at 99310

is unsupported by any substantiation.

        An instructive case is United States ex rel. Presser v. Acacia Mental Health Clinic, LLC,

836 F.3d 770 (7th Cir. 2016), in which the Seventh Circuit held that the plaintiff had sufficiently

alleged a false claim with respect to the use of CPT code 90801:

        According to the complaint, this code is only meant to apply to full psychological
        assessments by a therapist or an evaluation by a psychiatrist. Ms. Presser alleges
        that her superiors directed her to use this code even though they also “expressly
        told [her] to discontinue conducting” psychiatric evaluations. She also alleges that
        receptionists and medical nurse practitioners used this code, even though their job
        description clearly does not include psychological assessments. The clinic director
        indicated to Ms. Presser that the use of this specific code was the policy and that
        Mr. Freund wanted these policies in place. Acacia mandated that all patients be
        assessed by a receptionist, nurse practitioner, and medical nurse practitioner, and
        each of these encounters were billed separately. These allegations state clearly and
        specifically that Acacia provided non-psychiatric evaluations and then falsely
        presented those services as psychiatric evaluations on bills to the state and federal
        governments. [Id. at 778].

        Here, the complaint does not contain anywhere near the level of detail described above.

Unlike in Presser, the complaint does not identify any clinicians who claim to have been “directed”



                                                  8
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 12 of 405 Page ID #198




to code CPRs and MMRs only at the 99310 level. Nor does it identify a clinical director or similar

employee who purportedly communicated such a directive. Nor does it identify a written policy

or guidance containing this instruction. See United States ex rel. Hilliard v. Hardin House Inc.,

2020 WL 362796 at *2-3 (N.D. Ill. Jan. 22, 2020) (distinguishing Presser.) (Exhibit 3).

                 2.       The Allegations Contradict the Claim of Upcoding

        The complaint also contains multiple admissions that undercut the plausibility of its claim

that General Medicine had a policy of upcoding. First, the complaint alleges only that General

Medicine “routinely” billed CPRs and MMRs at 99310. [Dkt. # 1, ¶ 256]. There is no allegation

that GM exclusively billed at 99310. If General Medicine had a scheme to upcode, and if it

instructed clinicians to bill CPRs and MMRs at the 99310 level, why are not all CPRs and MMRs

billed at 99310? The complaint gives no explanation.

        Second, the complaint admits that it was the General Medicine clinicians who “selected

the level of service provided when reporting the visit to [General Medicine.]” [Dkt. # 1, ¶ 261].

In other words, the facts alleged show that it was the clinicians—apparently exercising their

medical judgment and relying on the CPT code requirements described above1—who reported to

General Medicine what level of service they provided to the beneficiaries. There is no allegation

in the complaint that General Medicine or its billers ever changed any codes after they were

submitted by the clinician, and the clinicians’ judgments as to the complexity and

comprehensiveness of their services cannot be “false” for purposes of the FCA. United States ex

rel. Riley v. St. Luke’s Episcopal Hosp., 335 F.3d 370, 376 (5th Cir. 2004) (holding that




1
 “When reviewing a motion to dismiss, a court generally considers the factual allegations of the
complaint and any reasonable inferences that can be drawn from those allegations.” Craig v. Rich
Twp. High Sch. Dist. 227, 736 F.3d 1110, 1113 n.1 (7th Cir. 2013).

                                                 9
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 13 of 405 Page ID #199




“expressions of opinion of scientific judgments about which reasonable minds may differ” cannot

be “‘false’ for purposes of the FCA.”).

        Notably, the complaint also does not allege that clinicians had any incentive to bill at a

higher level than appropriate. The complaint claims that General Medicine “incentivized its

clinicians through compensation to perform as many patient visits as possible.” [Dkt. # 1, ¶ 192].

But there is no similar allegation that the clinicians’ compensation was tied in any way to the CPT

code they billed for those visits.

                 3.       The Complaint’s Claim of Pressure on Clinicians is Supported by no
                          Particularity and is Undercut by the Facts Alleged

        Instead, the complaint claims, without any factual elaboration, that General Medicine

would “pressure clinicians to change” the level of billing to a higher level. [Dkt. # 1, ¶ ]. But the

complaint does not provide a single example of such pressure. This mere allegation of “pressure,”

without more, does not even satisfy the Rule 8 pleading standards, much less the heightened

pleadings requirements of Rule 9. Schagrin, supra.

        In United States v. Baylor Scott & White Health, 2019 WL 3713756 (W.D. Tex. Aug. 5,

2019), aff’d sub nom., 816 F. App’x 892 (5th Cir. 2020) (Exhibit 4), the plaintiff alleged that the

defendant’s “‘medical coders then began to increasingly receive pressure directly from ...

leadership to code unethically’ and that one former medical coder quit because she ‘was

continually getting directives to compromise her integrity.’” Id. at *5. The District Court held

that these allegations did not state a claim: “[T]hese allegations do not specify what the pressure

was, who applied the pressure, or how the desired coding was unethical or fraudulent, and does

not give any specific examples of any requests for unethical, inappropriate, or fraudulent coding.

Such ‘naked assertions devoid of further factual enhancement’ are insufficient under Rule 8’s

pleading standards.” Id. (citation omitted).


                                                 10
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 14 of 405 Page ID #200




        Here, the complaint’s allegation of “pressure” in paragraph 261 is not only a naked

assertion, it is contradicted by the example described in the next five paragraphs of the complaint

in which General Medicine specifically did not upcode a clinician’s bill. In those paragraphs, the

complaint describes communications between nurse practitioner Tracy Dietz and clinical

coordinator Kathy Stieb regarding a patient visit performed by physician D’Andrienne Jones.

Rather than show evidence of upcoding, the complaint alleges that General Medicine billed the

visit at the 99309 level selected by Dr. Jones. [Dkt. #1, ¶ 266]. While the government may believe

that General Medicine engaged in wrongful conduct to allow it’s clinicians to visit the patient more

than necessary, the facts alleged do not show that those visits were upcoded.

                 4.       The Allegations Relating to the Twenty Exemplar Claims Are Equally
                          Devoid of Particular Facts Constituting Fraud

        The complaint’s other examples of supposed up-coding also do not contain any

particularity. The complaint sets forth twenty alleged “Examples of False Claims.” In pleading

these examples, the complaint repeatedly and formulaically states, “This [] visit was also upcoded,

as GM knew or should have known whatever services may have been rendered did not meet the

requirements for CPT 99310.” [Dkt. # 1, ¶¶ 406, 417, 444, 453, 472, 490, 507, 525, 536, 545, 553,

562, 571, 579, 587]. But no facts are alleged showing how these visits failed to “meet the

requirements for CPT 99310.” Remember, the complaint alleges that a 99310 visit requires “at

least two of the following three components: (a) a comprehensive interval history, including an

extended history of present illness, a complete past, family, and social history, and a complete review

of at least ten body systems directly related to the identified problems; (b) a comprehensive physical

examination of the patient; and (c) medical decision-making of high complexity.” [Dkt. # 1, ¶

109]. But the complaint does not allege which of these elements is missing with respect to any of

the claims at issue. Was the interval history not comprehensive? Was the physical exam not


                                                  11
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 15 of 405 Page ID #201




comprehensive? Was the medical decision-making not sufficiently complex? If so, why not? The

complaint doesn’t answer these questions. In short, the complaint “provides no medical, technical,

or scientific context which would enable a reader of the complaint to understand why” these claims

constitute upcoding. Presser, 836 F.3d at 779. See Allstate Ins. Co. v. Advanced Health

Professionals, P.C., 256 F.R.D. 49, 60 (D. Conn. 2008) (“Plaintiffs’ allegations make no

distinction between what Defendants say they did in their billing documentation, and what

Plaintiffs claim they actually did.”).

        Again, the complaint concedes that the clinicians selected the level of billing for their

claims. [Dkt. # 1, ¶ 261]. Those clinicians thought at “least two” of the necessary components for

billing 99310 were satisfied. Why does the government disagree? No explanation is proffered.

Without this explanation, the government’s claim fails to even raise the claim above plausibility

level, much less plead fraud with particularity. Twombly, 550 U.S. at 555 (“A plaintiff’s obligation

to provide the grounds of his entitlement to relief requires more than labels and conclusions, and

a formulaic recitation of the elements of a cause of action will not do.”) (cleaned up).

        The plausibility of the government’s claim is further undercut by the fact that the complaint

does not allege upcoding with respect to all of the twenty examples. Specifically, for examples 6,

which was a CPR coded at 99310, the complaint does not allege that the visit was upcoded. No

explanation is proffered in the complaint as to why some 99310 claims are necessarily upcoded

while other 99310 claims are not. Thus, the reader of the complaint cannot know why some of the

99310 claims are allegedly fraudulent. Gravett, 82 F. Supp. 3d at 838 (The complaint must be

“sufficient to provide the defendant with ‘fair notice’ of the claim and its basis.”).

        B.       The Allegations of Prior Downcodes do not Plead Fraud with Particularity




                                                 12
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 16 of 405 Page ID #202




        In support of its upcoding allegation, the complaint alleges that Medicare contractors and

the Medicare Appeals Council downcoded claims billed by General Medicine. [Dkt. # 1, pp. 50-

55]. Indeed, the complaint claims that the Medicare Appeals Council issued a “finding” that

General Medicine’s services are “upcoded.” [Dkt. # 1, ¶ 317]. But the Medicare Appeals Council

decisions cited do not support such a sweeping characterization.2

                 1.       The Medicare Appeals Council Decisions Referenced in the Complaint
                          do not Show Fraud with Particularity

        The first Council decision referenced in the complaint—Docket No. E-15-73—related to

claims for Medicare services rendered nine years ago. In that decision, the Council did not hold

that a CPR or MMR can never be sufficiently complex to bill at the 99310 level. Nor did it hold

that General Medicine knowingly upcoded any claims.            Instead, the Council held that the

documentation submitted did not support the 99310 CPT code in the claims at issue in that appeal.

(Exhibit 5, pp 18-19, “As reviewed below, the Council finds the documentation insufficient to

meet coverage standards on multiple grounds.”). When addressing the particular claims, the

Council repeatedly stated, “The record contains insufficient documentation to support the service

billed as CPT code 99310[.]” (See e.g. exhibit 5, p 21). This is not evidence of fraud. See U.S.

ex rel. Schuhardt v. Washington Univ., 361 F. Supp. 2d 992 (E.D. Mo. 2003), aff’d in relevant

part, 390 F.3d 563 (8th Cir. 2004) (“[F]ailure to properly document a service does not, by itself,

state a claim for relief under the FCA.”); U.S. ex rel. Davis v. D.C., 679 F.3d 832 (D.C. Cir. 2012)

(holding that a lack of documentation is not itself a violation of the False Claims Act.).




2
 “[A] court may also examine information from documents referenced in the complaint that the
plaintiff relies upon to support its claim.” Craig, 736 F.3d at 1113 n.1 (7th Cir. 2013). Courts
may also consider “matters of public record, including administrative decisions.” El-Hewie v.
Bergen Cty., 348 F. App’x 790, 794 (3d Cir. 2009). See also Austin v. City of Chicago, 2019 WL
4750279 at *2 n.2 (N.D. Ill. Sept. 30, 2019).

                                                 13
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 17 of 405 Page ID #203




        The second Council decision referenced in the complaint—Docket No. M-12-655—arose

from Medicare claims submitted in 2003, under different CPT codes than exist today. Again, that

decision does not hold that a CPR or MMR can never be billed at the 99310 level or that General

Medicine knowingly upcoded any claims. Where the Council downcoded claims in that decision

it was because the documentation did not support the codes billed. (See Exhibit 6, p 35).

        Reference to these decisions does not plausibly allege that the claims at issue here were

upcoded. The complaint does not go through a similar analysis of the documentation relating to

any of its exemplar claims to show how they fail to justify coding at 99310. Instead, the complaint

makes a logical leap that, because the Council found the documentation insufficient to support

99310 in other cases, the claims at issue here must be upcoded. See Hutton v. City of Chicago,

2021 WL 809731 at *4 (N.D. Ill. Mar. 3, 2021) (holding that court “cannot make the logical leap”

to find claims plausible). (Exhibit 7).

                 2.       The Medicare Contractor Audits Referenced in the Complaint do not
                          Show Fraud with Particularity

        The same is true with respect to the allegations of prior audits. While the complaint alleges

prior instances of audits leading to downcoding, it provides nothing more. The particular facts

“constituting fraud” in those circumstances is missing. Fed. R. Civ. P. 9(b). For example, the

complaint cites a “prepayment review” by Medicare contractor Novitas Solutions, Inc. and an audit

by contractor National Government Services, Inc. [Dkt. # 1, ¶¶ 310-12]. According to the

complaint, “Novitas downcoded or denied most of GM’s 99310 claims it reviewed[.]” [Dkt. # 1,

¶ 311]. But no other facts are alleged relating to these claims, why they were downcoded (perhaps

it was a documentation issue), or how this is evidence of fraud. And by lumping downcoded




                                                 14
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 18 of 405 Page ID #204




claims with denied claims, it is impossible to know what percentage were actually downcoded.3

        Similarly, the complaint alleges that in a 2017 audit National Government Services

“downcoded 556 claims to a lower billing code.” [Dkt. # 1, ¶ 312]. But, again, no facts are alleged

in the complaint as to why the claims were downcoded, leaving the reader to guess that these

“circumstances constitute[ed] fraud.” Fed. R. Civ. P. 9(b). Moreover, the complaint does not even

allege that the claims at issue in the audit were CPRs or MMRs, as at issue in this case.

        The complaint also alleges that in 2019 a General Medicine employee “noted” that “at least

two more visits should have been billed at a lower CPT code.” [Dkt. # 1, ¶ 342]. But no particular

facts are alleged as to how this is evidence of fraud. It is at least as likely that these claims resulted

from a simple mistake or even good faith disagreement between the clinician and the auditor over

the proper CPT level for the claim. “CPT coding is complex, voluminous, and subject to expert

interpretation.” State Farm Mut. Auto. Ins. Co. v. Physicians Injury Care Center, Inc., 2008 WL

11337326 at *8 (M.D. Fla., Dec. 18, 2008). (Exhibit 8). As another federal court recently

recognized, CPT coding requires subjective decisions, and words such as “detailed,”

“comprehensive,” “low,” and “moderate” are “difficult to apply in practice.”                Government

Employees Ins. Co. v. The Right Spinal Clinic, Inc., 2022 WL 743800 at *6 (M.D. Fla., March 11,

2022). (Exhibit 9). Without more detail, this allegation fails to state particular facts showing

fraud. See Twombly, 550 U.S. at 567-68 (holding that where there is an “obvious alternative

explanation” that is legal, the complaint fails to state a claim for relief.).




3
 Imagine there were 100 claims of which 58 were denied, two were downcoded, and the rest were
approved as originally billed. In that scenario, only a small percentage of the claims paid were
downcoded. But by lumping them together the government can say that “most” were “downcoded
or denied.”

                                                   15
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 19 of 405 Page ID #205




        In short, nothing in these allegations about prior downcodes shows that fraud is the most

likely reason for the levels billed by General Medicine. It is just as likely that the clinicians

themselves decided that the 99310 CPT level was the most appropriate code for the particular

visits. Iqbal, 556 U.S. at 678 (“Where a complaint pleads facts that are merely consistent with a

defendant’s liability, it stops short of the line between possibility and plausibility of entitlement to

relief.”) (cleaned up);

        C.       The Complaint does not Plausibly Allege Defendants’ Knowledge

        “The FCA establishes liability only for knowingly false claims—it is not enough that a

defendant suspect or believe that its claim was false.” United States ex rel. Schutte v. SuperValu,

Inc., 9 F.4th 455, 470 (7th Cir. 2021). The knowledge inquiry is objective; the defendant’s

“subjective intent is irrelevant.” Id. “Under the FCA, ‘knowing’ and ‘knowingly’ means that a

defendant, at the time of filing the claim, (1) has actual knowledge of the information’s false

nature; (2) acts in deliberate ignorance of the truth or falsity of the information; or (3) acts in

reckless disregard of the truth or falsity of the information.” U.S. ex rel Trim v. McKean, 31 F.

Supp. 2d 1308 (W.D. Okla. 1998). While knowledge may be pled generally, the complaint must

still provide sufficient facts to make the knowledge allegation plausible. See United States ex rel.

Rockey v. Ear Inst. of Chicago, LLC, 92 F. Supp. 3d 804, 820 (N.D. Ill. 2015) (holding that

complaint did “not plausibly allege that Ear Institute Defendants acted with the knowledge that

their conduct violated the new Medicare regulations”).

        In Schutte, supra, the Seventh Circuit analyzed the definition of “knowledge” under the

FCA, and particularly the “reckless disregard” standard of knowledge. Relying on the Supreme

Court’s decision in Safeco Insurance Company of America v. Burr, 551 U.S. 47 (2007), the

Seventh Circuit held that a “defendant who acted under an incorrect interpretation of the relevant



                                                  16
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 20 of 405 Page ID #206




statute or regulation did not act with reckless disregard if (1) the interpretation was objectively

reasonable and (2) no authoritative guidance cautioned defendants against it.” Id. at 464. The

court held that this standard “reaches all three of the scienter terms that define ‘knowingly.’” Id.

at 467. See id. at 459 (“[A] failure to establish the Safeco standard as a threshold matter precludes

liability under any of [the] definitions [of ‘knowingly.’]”).

        Here, the complaint does not allege facts creating the inference that General Medicine’s

interpretation of the CPT code requirements is objectively unreasonable. Indeed, there is no

allegation in the complaint regarding proper interpretation or application of CPT 99310 in any

given case. And, as the complaint admits, the CPT codes contain (subjective) qualifiers such as

“complex” and “comprehensive.” [Dkt. # 1, ¶ 106-09]. State Farm Mut., supra at *8 (“CPT

coding is complex, voluminous, and subject to expert interpretation.”). General Medicine relied

on the clinicians to code the visits in the first instance, thus relying on the clinician’s

representations regarding CPT code qualifications were met. Again, there is no allegation that

General Medicine upcoded the level originally selected by the clinician.

        Instead, the complaint apparently relies on the allegations of prior downcodes to suggest

that billing CPRs and MMRs at 99310 must be unreasonable. But, as explained above, none of

those audits or decisions held that a CPR or MMR can never meet the requirements of 99310.

Rather, those audits found that at least some CPRs and MMRs could be billed at 99310. In short,

the complaint fails to plead any facts showing that billing the 99310 code was objectively

unreasonable in any given case.

        Nor does the complaint allege that that General Medicine received “authoritative guidance”

cautioning General Medicine that CPRs and MMRs could not be billed at 99310. The Medicare

Appeals Council decisions do not qualify as such “authoritative guidance.” In the first place, as



                                                 17
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 21 of 405 Page ID #207




discussed above, those decisions did not specifically find that CPRs or MMRs could not be billed

at 99310 or that General Medicine was engaged in upcoding. Schutte, supra at 471 (“[T]he CMS

manual was not sufficiently specific to warn SuperValu that its program likely would fall within

the definition of U&C price.”).

        In any event, decisions of the Medicare Appeals Council do not create binding precedent

and are therefore not “authoritative guidance.” Lodge v. Burwell, 227 F. Supp. 3d 198, 211 (D.

Conn. 2016) (“Unlike the kinds of legislative rules that are promulgated through notice-and-

comment rulemaking or that arise through adjudications that bind third-parties through a system

of precedent, the MAC’s decisions have no precedential power.”); Tangney v. Burwell, 186 F.

Supp. 3d 45, 56 (D. Mass. 2016) (“[T]he Council’s decision was not precedential and thus not

analogous to a proffered rule to be applied by all future hearing officers.”). In Safeco, the plaintiffs

relied on a letter sent from “an FTC staff member to [the defendant’s] lawyer” that disagreed with

the defendant’s interpretation of the regulation at issue. But the Supreme Court held that even this

direct guidance from the FTC was not “authoritative guidance” because it did not “canvass the

issue” and was an “informal staff opinion … not binding on the Commission.” Safeco, 551 U.S. at

70 n.19. Here, the Medicare Appeals Council decisions are not binding on any other panels of the

Council, ALJs, CMS or HHS, and therefore are not “authoritative guidance.”

II.     THE GOVERNMENT FAILED TO PLEAD FACTS SETTING FORTH A CLAIM
        AGAINST NUMEROUS DEFENDANTS

        Courts have repeatedly held that a plaintiff must to plead “examples of specific claims

submitted” to the government by each defendant to satisfy Federal Rule of Civil Procedure 9(b).

See e.g., Jiazi Hu v. Chan, 2016 WL 4269065, *6 (S.D. Ohio 2016); U.S. v. Planned Parenthood

of the Heartland, Inc., 2013 WL 11627782, *1 (S.D. Iowa 2013); See also U.S. ex rel. SNAPP,




                                                  18
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 22 of 405 Page ID #208




Inc., 618 F.3d at 513. As succinctly stated by the United States District Court for the Eastern

District of New York,

        courts have held that the complaint must provide details that identify particular false
        claims for payment that were submitted to the government.... [D]etails concerning
        the dates of the claims, the content of the forms or bills submitted, their
        identification numbers, the amount of money charged to the government, the
        particular goods or services for which the government was billed, the individuals
        involved in the billing, and the length of time between the alleged fraudulent
        practices and the submission of claims based on those practices are the types of
        information that may help a [plaintiff] to state his or her claims with
        particularity. These details do not constitute a checklist of mandatory requirements
        that must be satisfied by each allegation included in a complaint. However ... some
        [ ] of this information for at least some of the claims must be pleaded in order to
        satisfy Rule 9(b). [U.S. v. Northern Adult Daily Heath Care Center, 205 F. Supp.
        3d 276, 289 (E.D. N.Y. 2016) (alteration in original) (citations omitted)].

        Courts have also determined that “group” pleading is not sufficient to satisfy claims that

fall within this heightened pleading standard. See e.g., U.S. ex. rel. Grynberg v. Alaskan Pipeline

Co., 1997 WL 33763820, *4 (D.D.C. 1997); Jiazi Hu v. Chan, 2016 WL 4269065, at *6; U.S. ex

rel. Branham v. Mercy Health Systems of Southwest Ohio, 188 F.3d 510, *2 (6th Cir. 1999) (Table)

(“Even if the court had jurisdiction over plaintiff’s False Claims Act claim, the court was correct

in dismissing the amended complaint because plaintiff's allegations are based on generalized

accusations of wrongdoing attributed to “defendants” without any specificity as to which

employees of the defendants were engaged in the alleged fraudulent scheme.”).

        Here, the Government has utterly failed to plead any specific purportedly fraudulent claims

submitted by numerous Defendants in the Complaint. In particular, the Government failed to plead

any specific examples of purportedly fraudulent claims submitted by Defendants General

Medicine of Illinois Physicians, P.C., Advanced Medical Haggerty Partners, P.A., Borough

Medical Partners, P.A., Centro Medical Partners, P.A., Integrated Medial Partners, P.A., Metro

Medical Haggerty Partners, P.A., New Castle Haggerty Medical Partners, P.A., Regional Medical



                                                  19
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 23 of 405 Page ID #209




Partners, P.A., Silverton Medical Partners, P.A., Statewide Medical Partners, P.A., Vicinity

Medical Partners, P.A., and Westco Haggerty Medical Partners, P.A. This failure by the

Government is fatal. The pleading of specific examples of the purported fraud is an indispensable

element for any False Claims Act complaint. See Walgreen Co., 846 F.3d at 881 (“The

identification of at least one false claim with specificity is an indispensable element of a complaint

that alleges a [False Claims Act] violation in compliance with Rule 9(b).”) (quotations omitted).

V.      CONCLUSION

        WHEREFORE, Defendants respectfully request that this Court dismiss the Complaint for

the reasons set forth above.

                                               Respectfully submitted,

                                               SANDBERG PHOENIX & von GONTARD P.C.


                                               By:/s/ a. Courtney Cox
                                                       A. Courtney Cox
                                                       1405 West Main Street
                                                       Carbondale, IL 62901
                                                       618-351-7200
                                                       ccox@sandbergphoenix.com

                                               CLARK HILL PLC


                                               By:/s/ David F. Hansma
                                                      David F. Hansma (P71056)
                                                      Attorneys for Defendants
                                                      151 S. Old Woodward Ave, Suite 200
                                                      Birmingham, MI 48009
                                                      (248) 988-5877
Dated: July 7, 2022                                   dhansma@clarkhill.com




                                                 20
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 24 of 405 Page ID #210




                        PROOF OF SERVICE

          I certify that this document was filed and
          served on all attorneys of record in the
          following manner:

              First Class                Hand
              Mail                       Delivery

              CM/ECF                X    Electronic
                                         Mail



                  Date: July 7, 2022

                          /s/ Kelli Ruthenberg

                      KELLI RUTHENBERG




                                                    21
31592\440601\267680515.v1-6/30/22
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 25 of 405 Page ID #211
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 26 of 405 Page ID #212
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 27 of 405 Page ID #213
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 28 of 405 Page ID #214
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 29 of 405 Page ID #215
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 30 of 405 Page ID #216
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 31 of 405 Page ID #217
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 32 of 405 Page ID #218
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 33 of 405 Page ID #219
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 34 of 405 Page ID #220
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 35 of 405 Page ID #221
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 36 of 405 Page ID #222
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 37 of 405 Page ID #223
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 38 of 405 Page ID #224
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 39 of 405 Page ID #225
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 40 of 405 Page ID #226
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 41 of 405 Page ID #227
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 42 of 405 Page ID #228
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 43 of 405 Page ID #229
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 44 of 405 Page ID #230
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 45 of 405 Page ID #231
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 46 of 405 Page ID #232
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 47 of 405 Page ID #233
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 48 of 405 Page ID #234
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 49 of 405 Page ID #235
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 50 of 405 Page ID #236
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 51 of 405 Page ID #237
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 52 of 405 Page ID #238
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 53 of 405 Page ID #239
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 54 of 405 Page ID #240
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 55 of 405 Page ID #241
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 56 of 405 Page ID #242
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 57 of 405 Page ID #243
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 58 of 405 Page ID #244
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 59 of 405 Page ID #245
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 60 of 405 Page ID #246
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 61 of 405 Page ID #247
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 62 of 405 Page ID #248
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 63 of 405 Page ID #249
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 64 of 405 Page ID #250
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 65 of 405 Page ID #251
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 66 of 405 Page ID #252
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 67 of 405 Page ID #253
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 68 of 405 Page ID #254
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 69 of 405 Page ID #255
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 70 of 405 Page ID #256
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 71 of 405 Page ID #257
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 72 of 405 Page ID #258
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 73 of 405 Page ID #259
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 74 of 405 Page ID #260
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 75 of 405 Page ID #261
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 76 of 405 Page ID #262
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 77 of 405 Page ID #263
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 78 of 405 Page ID #264
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 79 of 405 Page ID #265
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 80 of 405 Page ID #266
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 81 of 405 Page ID #267
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 82 of 405 Page ID #268
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 83 of 405 Page ID #269
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 84 of 405 Page ID #270
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 85 of 405 Page ID #271
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 86 of 405 Page ID #272
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 87 of 405 Page ID #273
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 88 of 405 Page ID #274
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 89 of 405 Page ID #275
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 90 of 405 Page ID #276
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 91 of 405 Page ID #277
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 92 of 405 Page ID #278
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 93 of 405 Page ID #279
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 94 of 405 Page ID #280
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 95 of 405 Page ID #281
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 96 of 405 Page ID #282
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 97 of 405 Page ID #283
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 98 of 405 Page ID #284
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 99 of 405 Page ID #285
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 100 of 405 Page ID #286
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 101 of 405 Page ID #287
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 102 of 405 Page ID #288
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 103 of 405 Page ID #289
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 104 of 405 Page ID #290
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 105 of 405 Page ID #291
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 106 of 405 Page ID #292
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 107 of 405 Page ID #293
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 108 of 405 Page ID #294
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 109 of 405 Page ID #295
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 110 of 405 Page ID #296
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 111 of 405 Page ID #297
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 112 of 405 Page ID #298
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 113 of 405 Page ID #299
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 114 of 405 Page ID #300
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 115 of 405 Page ID #301
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 116 of 405 Page ID #302
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 117 of 405 Page ID #303
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 118 of 405 Page ID #304
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 119 of 405 Page ID #305
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 120 of 405 Page ID #306
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 121 of 405 Page ID #307
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 122 of 405 Page ID #308
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 123 of 405 Page ID #309
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 124 of 405 Page ID #310
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 125 of 405 Page ID #311
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 126 of 405 Page ID #312
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 127 of 405 Page ID #313
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 128 of 405 Page ID #314
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 129 of 405 Page ID #315
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 130 of 405 Page ID #316
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 131 of 405 Page ID #317
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 132 of 405 Page ID #318
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 133 of 405 Page ID #319
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 134 of 405 Page ID #320
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 135 of 405 Page ID #321
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 136 of 405 Page ID #322
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 137 of 405 Page ID #323
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 138 of 405 Page ID #324
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 139 of 405 Page ID #325
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 140 of 405 Page ID #326
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 141 of 405 Page ID #327
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 142 of 405 Page ID #328
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 143 of 405 Page ID #329
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 144 of 405 Page ID #330
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 145 of 405 Page ID #331
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 146 of 405 Page ID #332
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 147 of 405 Page ID #333
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 148 of 405 Page ID #334
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 149 of 405 Page ID #335
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 150 of 405 Page ID #336
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 151 of 405 Page ID #337
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 152 of 405 Page ID #338
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 153 of 405 Page ID #339
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 154 of 405 Page ID #340
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 155 of 405 Page ID #341
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 156 of 405 Page ID #342
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 157 of 405 Page ID #343
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 158 of 405 Page ID #344
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 159 of 405 Page ID #345
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 160 of 405 Page ID #346
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 161 of 405 Page ID #347
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 162 of 405 Page ID #348
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 163 of 405 Page ID #349
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 164 of 405 Page ID #350
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 165 of 405 Page ID #351
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 166 of 405 Page ID #352
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 167 of 405 Page ID #353
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 168 of 405 Page ID #354
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 169 of 405 Page ID #355
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 170 of 405 Page ID #356
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 171 of 405 Page ID #357
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 172 of 405 Page ID #358
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 173 of 405 Page ID #359
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 174 of 405 Page ID #360
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 175 of 405 Page ID #361
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 176 of 405 Page ID #362
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 177 of 405 Page ID #363
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 178 of 405 Page ID #364
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 179 of 405 Page ID #365
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 180 of 405 Page ID #366
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 181 of 405 Page ID #367
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 182 of 405 Page ID #368
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 183 of 405 Page ID #369
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 184 of 405 Page ID #370
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 185 of 405 Page ID #371
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 186 of 405 Page ID #372
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 187 of 405 Page ID #373
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 188 of 405 Page ID #374
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 189 of 405 Page ID #375
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 190 of 405 Page ID #376
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 191 of 405 Page ID #377
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 192 of 405 Page ID #378
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 193 of 405 Page ID #379
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 194 of 405 Page ID #380
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 195 of 405 Page ID #381
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 196 of 405 Page ID #382
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 197 of 405 Page ID #383
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 198 of 405 Page ID #384
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 199 of 405 Page ID #385
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 200 of 405 Page ID #386
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 201 of 405 Page ID #387
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 202 of 405 Page ID #388
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 203 of 405 Page ID #389
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 204 of 405 Page ID #390
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 205 of 405 Page ID #391
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 206 of 405 Page ID #392
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 207 of 405 Page ID #393
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 208 of 405 Page ID #394
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 209 of 405 Page ID #395
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 210 of 405 Page ID #396
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 211 of 405 Page ID #397
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 212 of 405 Page ID #398
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 213 of 405 Page ID #399
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 214 of 405 Page ID #400
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 215 of 405 Page ID #401
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 216 of 405 Page ID #402
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 217 of 405 Page ID #403
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 218 of 405 Page ID #404
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 219 of 405 Page ID #405
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 220 of 405 Page ID #406
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 221 of 405 Page ID #407
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 222 of 405 Page ID #408
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 223 of 405 Page ID #409
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 224 of 405 Page ID #410
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 225 of 405 Page ID #411
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 226 of 405 Page ID #412
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 227 of 405 Page ID #413
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 228 of 405 Page ID #414
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 229 of 405 Page ID #415
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 230 of 405 Page ID #416
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 231 of 405 Page ID #417
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 232 of 405 Page ID #418
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 233 of 405 Page ID #419
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 234 of 405 Page ID #420
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 235 of 405 Page ID #421
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 236 of 405 Page ID #422
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 237 of 405 Page ID #423
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 238 of 405 Page ID #424
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 239 of 405 Page ID #425
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 240 of 405 Page ID #426
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 241 of 405 Page ID #427
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 242 of 405 Page ID #428
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 243 of 405 Page ID #429
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 244 of 405 Page ID #430
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 245 of 405 Page ID #431
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 246 of 405 Page ID #432
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 247 of 405 Page ID #433
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 248 of 405 Page ID #434
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 249 of 405 Page ID #435
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 250 of 405 Page ID #436
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 251 of 405 Page ID #437
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 252 of 405 Page ID #438
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 253 of 405 Page ID #439
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 254 of 405 Page ID #440
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 255 of 405 Page ID #441
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 256 of 405 Page ID #442
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 257 of 405 Page ID #443
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 258 of 405 Page ID #444
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 259 of 405 Page ID #445
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 260 of 405 Page ID #446
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 261 of 405 Page ID #447
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 262 of 405 Page ID #448
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 263 of 405 Page ID #449
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 264 of 405 Page ID #450
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 265 of 405 Page ID #451
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 266 of 405 Page ID #452
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 267 of 405 Page ID #453
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 268 of 405 Page ID #454
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 269 of 405 Page ID #455
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 270 of 405 Page ID #456
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 271 of 405 Page ID #457
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 272 of 405 Page ID #458
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 273 of 405 Page ID #459
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 274 of 405 Page ID #460
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 275 of 405 Page ID #461
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 276 of 405 Page ID #462
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 277 of 405 Page ID #463
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 278 of 405 Page ID #464
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 279 of 405 Page ID #465
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 280 of 405 Page ID #466
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 281 of 405 Page ID #467
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 282 of 405 Page ID #468
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 283 of 405 Page ID #469
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 284 of 405 Page ID #470
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 285 of 405 Page ID #471
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 286 of 405 Page ID #472
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 287 of 405 Page ID #473
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 288 of 405 Page ID #474
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 289 of 405 Page ID #475
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 290 of 405 Page ID #476
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 291 of 405 Page ID #477
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 292 of 405 Page ID #478
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 293 of 405 Page ID #479
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 294 of 405 Page ID #480
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 295 of 405 Page ID #481
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 296 of 405 Page ID #482
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 297 of 405 Page ID #483
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 298 of 405 Page ID #484
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 299 of 405 Page ID #485
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 300 of 405 Page ID #486
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 301 of 405 Page ID #487
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 302 of 405 Page ID #488
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 303 of 405 Page ID #489
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 304 of 405 Page ID #490
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 305 of 405 Page ID #491
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 306 of 405 Page ID #492
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 307 of 405 Page ID #493
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 308 of 405 Page ID #494
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 309 of 405 Page ID #495
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 310 of 405 Page ID #496
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 311 of 405 Page ID #497
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 312 of 405 Page ID #498
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 313 of 405 Page ID #499
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 314 of 405 Page ID #500
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 315 of 405 Page ID #501
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 316 of 405 Page ID #502
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 317 of 405 Page ID #503
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 318 of 405 Page ID #504
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 319 of 405 Page ID #505
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 320 of 405 Page ID #506
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 321 of 405 Page ID #507
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 322 of 405 Page ID #508
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 323 of 405 Page ID #509
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 324 of 405 Page ID #510
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 325 of 405 Page ID #511
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 326 of 405 Page ID #512
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 327 of 405 Page ID #513
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 328 of 405 Page ID #514
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 329 of 405 Page ID #515
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 330 of 405 Page ID #516
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 331 of 405 Page ID #517
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 332 of 405 Page ID #518
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 333 of 405 Page ID #519
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 334 of 405 Page ID #520
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 335 of 405 Page ID #521
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 336 of 405 Page ID #522
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 337 of 405 Page ID #523
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 338 of 405 Page ID #524
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 339 of 405 Page ID #525
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 340 of 405 Page ID #526
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 341 of 405 Page ID #527
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 342 of 405 Page ID #528
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 343 of 405 Page ID #529
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 344 of 405 Page ID #530
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 345 of 405 Page ID #531
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 346 of 405 Page ID #532
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 347 of 405 Page ID #533
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 348 of 405 Page ID #534
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 349 of 405 Page ID #535
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 350 of 405 Page ID #536
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 351 of 405 Page ID #537
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 352 of 405 Page ID #538
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 353 of 405 Page ID #539
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 354 of 405 Page ID #540
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 355 of 405 Page ID #541
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 356 of 405 Page ID #542
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 357 of 405 Page ID #543
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 358 of 405 Page ID #544
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 359 of 405 Page ID #545
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 360 of 405 Page ID #546
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 361 of 405 Page ID #547
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 362 of 405 Page ID #548
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 363 of 405 Page ID #549
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 364 of 405 Page ID #550
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 365 of 405 Page ID #551
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 366 of 405 Page ID #552
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 367 of 405 Page ID #553
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 368 of 405 Page ID #554
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 369 of 405 Page ID #555
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 370 of 405 Page ID #556
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 371 of 405 Page ID #557
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 372 of 405 Page ID #558
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 373 of 405 Page ID #559
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 374 of 405 Page ID #560
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 375 of 405 Page ID #561
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 376 of 405 Page ID #562
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 377 of 405 Page ID #563
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 378 of 405 Page ID #564
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 379 of 405 Page ID #565
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 380 of 405 Page ID #566
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 381 of 405 Page ID #567
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 382 of 405 Page ID #568
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 383 of 405 Page ID #569
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 384 of 405 Page ID #570
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 385 of 405 Page ID #571
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 386 of 405 Page ID #572
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 387 of 405 Page ID #573
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 388 of 405 Page ID #574
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 389 of 405 Page ID #575
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 390 of 405 Page ID #576
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 391 of 405 Page ID #577
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 392 of 405 Page ID #578
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 393 of 405 Page ID #579
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 394 of 405 Page ID #580
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 395 of 405 Page ID #581
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 396 of 405 Page ID #582
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 397 of 405 Page ID #583
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 398 of 405 Page ID #584
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 399 of 405 Page ID #585
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 400 of 405 Page ID #586
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 401 of 405 Page ID #587
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 402 of 405 Page ID #588
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 403 of 405 Page ID #589
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 404 of 405 Page ID #590
Case 3:22-cv-00651-SMY Document 22 Filed 07/07/22 Page 405 of 405 Page ID #591
